Case 2:16-cv-11882-GCS-EAS ECF No. 36 filed 03/25/19          PageID.1014     Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

NIKITA T. SMITH, et al.,

             Plaintiffs,                 Case No. 16-11882
                                         District Judge George Caram Steeh
v.                                       Magistrate Judge R. Steven Whalen

CITY OF DETROIT, et al.,

          Defendants.
_____________________________/

                 NOTICE OF SETTLEMENT CONFERENCE

      TAKE NOTICE that the above-entitled matter has been scheduled for

settlement proceedings on TUESDAY, MAY 7, 2019 at 1:30 P.M., before Magistrate

Judge R. Steven Whalen, at 635 Theodore Levin Courthouse, 231 W. Lafayette,

Detroit, MI 48226. All parties with full settlement authority must be present.

“Full settlement authority” means authority to settle the case up to the Plaintiff’s last

demand or down to the Defendant’s last offer.

      The parties shall adhere to the following procedures and ATTORNEYS WHO

FAIL TO COMPLY WITH THESE REQUIREMENTS WILL BE

SANCTIONED:

       At least fourteen (14) days prior to the settlement conference, counsel for the
parties shall meet and confer in a good-faith attempt to settle the case or to narrow the
areas of disagreement. They shall exchange good-faith and realistic offers to settle,
and shall explain to each other why their demand or offer is reasonable. If a demand
Case 2:16-cv-11882-GCS-EAS ECF No. 36 filed 03/25/19          PageID.1015     Page 2 of 2




or offer is rejected, the attorney who rejects shall explain to opposing counsel the
reasons for the rejection.

      Seven (7) days before the settlement conference, the parties shall submit
confidential, ex-parte settlement statements directly to the chambers of the Honorable
R. Steven Whalen, United States Magistrate Judge. DO NOT FILE THESE
STATEMENTS WITH THE COURT. They can be faxed to (313) 234-5117, e-
mailed to Terri_Hackman@mied.uscourts.gov and
Carolyn_Ciesla@mied.uscourts.gov or hand delivered. These statements shall be
limited to ten (10) pages, and shall include the following:

      -A short summary of the pre-conference meet-and-confer, including the last
      demand and offer made;

      -A statement of why that demand or offer was rejected;

      -A realistic statement of what the party requires in order to settle this case.

      While the settlement statement may include a summary of the facts, claims and
defenses, it is not a summary judgment motion, and counsel should be mindful that
the Magistrate Judge who is facilitating settlement is not trying the case or deciding
dispositive motions at this point.

      At the settlement conference, the parties and their attorneys are expected to
conduct themselves in a business-like manner and to negotiate in good faith.
Posturing and other theatrics are prohibited.

                                         s/R. Steven Whalen
                                         R. STEVEN WHALEN
                                         UNITED STATES MAGISTRATE JUDGE
Dated: March 25, 2019
______________________________________________________________________
                          CERTIFICATE OF SERVICE

       I hereby certify on March 25, 2019, I electronically filed the foregoing paper
with the Clerk of the Court sending notification of such filing to all counsel registered
electronically. I hereby certify that a copy of this paper was mailed to the following
non-registered ECF participants on March 25, 2019: None

                                         s/Terri L. Hackman
                                         Judicial Assistant to
                                         Magistrate Judge R. Steven Whalen
